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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OKLAHOMA

   UNITED STATES OF AMERICA,

                         Plaintiff,

   v.                                              Case No. 24-CR-131-JDR-1

   GABRIEL URQUIZA-URQUIZA,

                         Defendant.


                        Bill of Particulars for Forfeiture of Property

        Pursuant to Federal Rule of Criminal Procedure 32.2(a), the United States hereby

  provides notice that the following assets are subject to forfeiture on the basis of the

  forfeiture allegations set forth in the Superseding Indictment filed in the above-styled

  criminal case. The Superseding Indictment provides notice that, upon conviction of

  the charges, as part of his sentence, the defendant shall forfeit any property

  constituting, or derived from, or traceable to, the proceeds obtained, directly or

  indirectly, as a result of such violations, any firearm and ammunition involved in or

  used in the knowing commission of such offenses, and any property, real or personal,

  that was used or intended to be used to commit or to facilitate the violations of

  federal law. Pursuant to this Bill of Particulars, the United States provides notice

  that upon conviction, in addition to the property listed in the Superseding

  Indictment, certain additional specific property is subject to forfeiture, including, but

  not limited to:
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     FIREARMS, AMMUNITION AND ACCESSORIES

     1. A Inter Ordnance (IO) Inc, Model 10-15, multi-caliber semi-automatic
        pistol, serial number 24-11606;

     2. A Anderson Manufacturing, Model AM-15, multi-caliber semi-automatic
        rifle, serial number 21121908;

     3. A Beretta, Model 92F, 9mm semi-automatic pistol, serial number
        BER137788Z;

     4. A Browning, Model SA-22, .22 caliber semi-automatic rifle, serial number
        10940RN146;

     5. A Fabrique Nationale (FN), Model 509, 9mm semi-automatic pistol, serial
        number GKS0166223;

     6. A Norinco, Model 22 A.T.D., .22 caliber semi-automatic rifle, serial number
        422721;

     7. A Radical Firearms, Model RF-15, multi-caliber semi-automatic rifle, serial
        number 21-081376;

     8. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
        number;

     9. A Remington Arms, Model 550-1, .22 caliber semi-automatic rifle, no serial
        number;

     10. A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0002-
         34894;

     11. A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0003-
         65582;

     12. A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 0020-
         73510;

     13. A Ruger, Model 10/22, .22 caliber semi-automatic rifle, serial number 354-
         44453;

     14. A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
         number 104682;

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      15. A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
          number 199352;

      16. A Ruger, Model 10/22 Carbine, .22 caliber semi-automatic rifle, serial
          number 250-52250;

      17. A Ruger, Model M77, 243 caliber bolt-action rifle, serial number 784-79037;

      18. Approximately 824 rounds of assorted ammunition;

      19. Approximately 85 rounds of .223 caliber ammunition; and

      20. Approximately 46 rounds of 9mm caliber ammunition.


     The above assets have been seized and are in the custody of DEA.

     All pursuant to Title 18, United States Code, Sections 924(d)(1), 934(a)(1)(A) and

  (B) and 982(a)(1),Title 21, United States Code, Section 853(a), Title 28, United

  States Code, Section 2461(c) and Title 50, United States Code, Section 4819(d).




                                         Respectfully submitted,

                                         CLINTON J. JOHNSON
                                         UNITED STATES ATTORNEY

                                         /s/ Reagan V. Reininger
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                                   Certificate of Service

     I hereby certify that on June 11, 2024, the foregoing document was electronically
  transmitted to the Clerk of Court using the ECF System for filing and transmittal of a
  Notice of Electronic Filing to counsel of record.

                                          /s/ Pam Kuch
                                          PAM KUCH, Paralegal Specialist




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